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                         UNITED STATES BANKRUPTCY COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

IN RE: Gregory A. Rager                                      BK NO. 20-20508 CMB
       Holly J. Rager
                                 Debtor(s)                   Chapter 13

FREEDOM MORTGAGE CORPORATION, its                            Related to Document No. 52
successors and/or assigns
                          Movant                             Hearing Date: 3/17/2022
               vs.

Gregory A. Rager
Holly J. Rager
                                 Respondent(s)

    OBJECTION OF FREEDOM MORTGAGE CORPORATION , ITS SUCCESSORS
                                            AND/OR ASSIGNS
                         TO CONFIRMATION OF CHAPTER 13 PLAN


        FREEDOM MORTGAGE CORPORATION, objects to confirmation of Debtor's Chapter 13 Plan
and asserts in support of its Objection as follows:


        1.      Movant’s claim is secured by a mortgage on Debtor’s property at 5868 Madison Avenue
Export, PA 15632.


        2.      On March 31, 2020, Movant filed a secured proof of claim setting forth pre-petition
arrears in the amount of $7,516.22.


        3.      Debtor's Plan provides for payment in the amount of $0.00 towards the arrearage claim of
the Movant.


        4.      The Debtor's plan fails to address the Movant’s claim. The loan modification is remote
and speculative. The Debtor cannot modify the loan without the consent of the Movant. Therefore, the
plan cannot be confirmed unless and until a loan modification is agreed to and approved by the Court.


        5.      Debtor’s Plan understates the amount of the Movant’s claim by $7,516.22, and does not
provide sufficient funding to pay said claim including present value interest.


        6.      Accordingly, Debtor's Plan is not feasible, as it does not fully compensate the Movant.


        7.      In addition, the Debtor’s Plan fails to comply with 11 U.S.C. §§ 1322 and 1325.
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        WHEREFORE, the Movant, FREEDOM MORTGAGE CORPORATION, prays that the Court
deny confirmation of the Debtor’s Plan.

                                              Respectfully submitted,

Date: March 4, 2022                       By: /s/ Brian C. Nicholas, Esquire ___
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